               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION
                       CA No. 5:17-cv-00098-FL

WAI MAN TOM, on behalf of himself and )
all others similarly situated,        )
                                      )
        Plaintiff,                    )
                                      )
               v.                     )             March 23, 2018
                                      )
HOSPITALITY VENTURES LLC, d/b/a )
UMSTEAD HOTEL AND SPA, NC )
CULINARY VENTURES LLC, d/b/a ÃN )
ASIAN CUISINE, SAS INSTITUTE INC., )
and ANN GOODNIGHT,                    )

     Defendants.



  MEMORANDUM IN SUPPORT OF PLAINTIFF’S EMERGENCY MOTION
 FOR A PROTECTIVE ORDER AND CORRECTIVE MAILING TO ADDRESS
 DEFENDANTS’ IMPROPER COMMUNICATION WITH PUTATIVE CLASS
                         MEMBERS




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        In light of recent revelations concerning Defendants’ counsel’s communications

with and dissemination of affidavits to putative class members, which took place under

misleading circumstances, is creating confusion for putative class members, may prevent

putative class members from participating or recovering damages in this litigation, and has

taken place while Plaintiff’s Motion to Conditionally Certify the Matter as a Collective

Action and for a Court-Authorized Notice to be Issued Under Section 216(b) of the Fair

Labor Standards Act, and to Certify the Matter as a Class Action Under Fed. R. Civ. P.

23(a) and (b)(3), and to Appoint Class Counsel Under Fed. R. Civ. P. 23(g) (“Motion for

Certification”) is pending, see Dkt. 79, Plaintiff hereby moves the Court for an expedited

consideration of this motion to immediately authorize Plaintiff to issue corrective notice,

and for the entry of an order imposing additional corrective measures, as detailed below.

   I.      INTRODUCTION
        On March 15, 2018, Plaintiff filed his Motion for Certification. See Dkt. 79.

Pursuant to that Motion, Plaintiff is seeking conditional certification of this action as a

representative collective action under the Fair Labor Standards Act (“FLSA”); approval of

the proposed FLSA notice of this action and the consent form, which would allow Plaintiff

to issue Court-approved notice to putative class members; and certification of this action

as a class action under Rule 23(a) and (b)(3) for his North Carolina Wage and Hour Act

(“NCWHA”) claims, among other forms of relief. See id.

        Plaintiff’s counsel have recently learned that while Plaintiff’s Motion for

Certification is pending, Defendants’ counsel have improperly interfered with the notice

process.    Specifically, Defendants’ counsel have been meeting with putative class


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members, including former servers, server assistants, runners, and/or bartenders, and

unilaterally having them execute affidavits relating to their pay and wages due from

Defendants. These affidavits interfere with the Court’s authority to prevent confusion and

unfairness concerning an FLSA collective action and Rule 23 class action, and may also

prevent putative class members from participating or recovering damages in this litigation.1

The meetings also took place under misleading and confusing circumstances.

       Since the putative class members are not being fully advised as to the nature of the

lawsuit and how signing such an affidavit may affect their rights, among many other

pertinent details, as provided below, their execution of affidavits prepared by Defendants’

counsel, and their communications with Defendants’ counsel, unduly prejudice them.

Further, since neither the Court nor Plaintiff’s counsel were privy to the communications

and representations between Defendants’ counsel and putative class members, and since

the communications took place under misleading circumstances, the affidavits constitute

improper communications with putative class members, interfering with the Court’s

jurisdiction over this case, and its ability to supervise communications with class members,

in an effort to ensure that all parties act fairly while the Court decides whether and how the

action will move forward. For these reasons, and because the Court is vested with

supervisory authority over Defendants’ communications with putative class members,




1
  Importantly, Defendants’ active solicitation of signed affidavits from putative class
members, relating to what they all experienced and how they were all commonly treated,
also stands as proof that these employees are similarly situated, and this should be
considered further evidence to support Plaintiff’s Motion for Certification.
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Plaintiff respectfully asks this Court to enter the proposed Order.2

    II.      BACKGROUND
          On March 19, 2018, Plaintiff’s counsel learned that Defendants’ counsel were

approaching putative class members about signing the affidavits at issue.3 A former tipped




2
  The proposed Order, filed with the instant Motion, requests that the Court (1) grant the
instant Motion; (2) prohibit Defendants from further communications with putative class
members, without permission from the Court; (3) invalidate all affidavits improperly
obtained; (4) direct Defendants to provide Plaintiff’s counsel with the names, telephone
numbers, email addresses, and mailing addresses of all putative class members who
Defendants communicated with regarding the affidavits discussed herein; (5) direct
Defendants to provide Plaintiff’s counsel with all materials sent to or received from
putative class members; (6) direct that counsel for the parties submit to the Court an agreed-
upon form of corrective notice; (7) direct that the notice briefly describe the lawsuit, and
advise putative class members that their signed affidavits will have no legal effect, and will
not impact their right to participate in this action; and (8) provide any other relief this Court
deems necessary or appropriate.
3
  On March 19, 2018, the same day that they learned about Defendants’ counsel’s improper
communications, Plaintiff’s counsel contacted Defendants’ counsel, asking about their
availabilities for a phone call. See Correspondence with Defendants’ Counsel, attached
hereto as Ex. A. Counsel for the parties agreed to speak the following day, on March 20.
During the telephonic conference, Plaintiff’s counsel requested that Defendants’ counsel
cease and desist contacting putative class members without Court approval, and that
Defendants counsel disclose how many putative class members they spoke to in total, and
send executed affidavits for Plaintiff’s counsel’s review. Plaintiff’s counsel provided that,
in disclosing all such details, the parties may be able to avoid seeking Court intervention
on this issue. Defendants’ counsel requested that Plaintiff’s counsel wait until 3:00 p.m.
on March 21, 2018 for their response. The following day, on March 21, Plaintiff’s counsel
emailed Defendants’ counsel, requesting that the call take place on March 22, due to
obligations in other matters. See id. Defendants’ counsel responded on March 21, asserting
that the Federal Rules of Civil Procedure do not prohibit their conduct in communicating
with putative class members. See id. Plaintiff’s counsel replied that same day, pointing
out that if the communications are misleading or coercive, they violate the Rules. See id.
Plaintiff’s counsel also requested that Defendants’ counsel cease and desist further
communications, send all executed affidavits to Plaintiff’s counsel for review, and agree
not to use such affidavits in the litigation. See id. Defendants’ counsel responded on March
22, stating that the first request was moot because they were not planning any additional
meetings with putative class members, but that they would not withhold use of such
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server of Defendants, and a putative class member, Justin Dillon, contacted Plaintiffs’

counsel to inform them that he received phone calls and text messages from Defendants’

counsel, asking him to meet with them personally to discuss the case. See Declaration of

Justin Dillon, attached hereto as Ex. B ¶¶ 3-4.4 Upon being contacted by Defendants’

counsel, Mr. Dillon was not informed as to who they represented, or what the nature of the

meeting was about. See id. ¶ 3.

       Mr. Dillon and Defendants’ counsel agreed to meet at a Starbucks location in

Raleigh, North Carolina, on March 19, 2018. See id. ¶ 4. When he arrived at Starbucks,

Mr. Dillon approached two women who had computers and a portable printer set up at their

table. See id. ¶ 5. They did not introduce themselves, and did not inform Mr. Dillon as to

who they represented; Mr. Dillon was not exactly sure who they were. See id. Instead,

one of the women, later identified to be Defendants’ counsel Jordan Fishman, briefly

explained, in vague terms, that a lawsuit was taking place. See id. She still did not, at that

point, tell Mr. Dillon whom she represented. See id. Defendants’ counsel never provided

Mr. Dillon with the First Amended Complaint in this action (or any other Court filings);

never asked Mr. Dillon whether he was represented by an attorney; never advised Mr.

Dillon that he could consult with an attorney prior to signing any document; never informed


affidavits in the litigation. See id. Defendants’ counsel did not address whether they would
turn over the executed affidavits. See id.
4
  Mr. Dillon had Plaintiff’s counsel’s contact information from a year prior, which he
received from a former co-worker. See id. ¶ 8. In addition to working as a server, Mr.
Dillon also briefly trained with Defendants as an expeditor, though he did not receive tips
directly from customers or from the tip pool while training in that position, even though
the full-time expeditor, Nick Papas, did receive tips from the mandatory tip pool. See id.
¶ 2.
                                              4

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Mr. Dillon that he could decline to speak with her; and never told Mr. Dillon that he did

not have to sign anything. See id. Mr. Dillon was also never provided with any information

relating to his potential rights, or how such rights might be impacted by speaking with

Defendants’ counsel, or by providing Defendants’ counsel with a signed affidavit. See id.

       At the meeting, Mr. Dillon was asked a series of questions by Defendants’ counsel,

after which an affidavit was printed for his signature. See id. ¶ 6. It was not until

approximately halfway through their meeting and based entirely on the one-sided nature of

the questions that, Mr. Dillon asked who Defendants’ counsel represents.             See id.

Defendants’ counsel responded that they represent Ãn. See id. She did not disclose that

they also represent two other Defendants in this action. See id.

       When Mr. Dillon was asked to sign the affidavit, he was never explained what it

was for, nor how it may affect his rights. See id. ¶ 7. Upon reviewing the affidavit, Mr.

Dillon made several revisions, since he thought that the information was inaccurate and/or

slanted for Defendants’ benefit. See id. After striking a lot of one-sided language, Mr.

Dillon executed the affidavit. See id. He was not offered a copy of the affidavit after

signing it. See id.

       After leaving the meeting with Defendants’ counsel, Mr. Dillon began feeling

misled about the purpose of the meeting, as well as who he was helping or hurting, who

exactly he was talking to, or why his affidavit was needed. See id. ¶ 8. Mr. Dillon then

contacted Plaintiffs’ counsel, because he felt misled about the meeting with Defendants’

counsel, and because he wanted to remain neutral in the litigation. See id. ¶ 9. He described

the details of the meeting to Plaintiff’s counsel, and stated that he believed Defendants’

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counsel were meeting with several other putative class members, since he could not believe

that they would travel from Atlanta to North Carolina, simply to meet with him. See id. ¶

11.

      Although Plaintiff’s counsel have not been permitted by Defendants’ counsel to

review the affidavits at issue, see supra FN 3, Plaintiff’s counsel have serious concerns

about Defendants’ conduct described herein.      First, as provided above, Defendants’

counsel’s meetings with putative class members is taking place under misleading

circumstances, since Defendants’ counsel are not explaining to putative class members

who they represent, what the purpose of the meetings is, whether they are represented by

an attorney, that they could have an attorney represent them in the meetings, that they do

not have to sign anything, how the affidavits would be used, how their rights may be

affected, among many other significant details. Further, the affidavits that Defendants’

counsel are having putative class members sign, and the direct communications between

Defendants’ counsel and putative class members without the knowledge or presence of the

Court or Plaintiff’s counsel, may effectively prevent or discourage putative class members

from participating or recovering damages in this litigation. Their signed affidavits may

impact their rights, and the unilateral communications between Defendants’ counsel and

putative class members may adversely affect their understanding of the underlying action.

Such improper communications should be contrasted with the relief requested in Plaintiff’s

Motion for Certification, which, in part, requests Court approval as to the exact language

of the notice and communications sent to putative class members. Further, the affidavits

and communications at issue interfere with the Court’s ability to prevent confusion and

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unfairness in an FLSA collective and Rule 23 class action.

   III.       ARGUMENT
       Courts have supervisory authority over a defendant’s communications with putative

class members. Fed. R. Civ. P. 23(d). Because of the potential for abuse, “a district court

has both the duty and the broad authority to exercise control over a class action and to enter

appropriate orders governing the conduct of counsel and parties.” Gulf Oil v. Bernard, 452

U.S. 89, 100 (1981); see also Hoffman-LaRoche, Inc. v. Sperling, 493 U.S. 165, 170 (1989)

(noting that a court’s interest in overseeing communications with potential class members

in § 216(b) actions is similar to that in Rule 23 class actions, and that “a trial court has

substantial interest in communications that are mailed for single actions involving multiple

parties.”).

              A. Defendants’ Unilateral Communications With Putative Class Members
                 Are Improper.
       Courts in the Fourth Circuit, and sister circuits, have long recognized the

impropriety of communications by defendants with putative class members, especially

where their legal rights may be affected. See, e.g., Randolph v. PowerComm Const., Inc.,

41 F. Supp. 3d 461, 467 (D. Md. 2014) (invalidating forms signed by employees after their

employer contacted them under potentially misleading or coercive circumstances, and

stating that such communications between the defendant and employees “were abusive in

that they threaten[ed] the proper functioning of the litigation.”); Paulino v. Dollar Gen.

Corp., 2013 WL 1773892, at *8 (N.D.W. Va. Apr. 25, 2013) ("Abusive practices that have

been considered sufficient to warrant a protective order include communications that . . .

contain false, misleading or confusing statements; and communications that undermine
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cooperation with or confidence in class counsel"); Adair v. EQT Prod. Co., 2011 WL

4501048, at *4 (W.D. Va. Sept. 28, 2011) (“The message of Gulf Oil is clear. Regulation

of communication is appropriate where the purposes of Rule 23 are threatened or

undermined.”); In re Currency Conversion Fee Antitrust Litig., 361 F.Supp. 2d 237, 253

(S.D.N.Y. 2005) (“[W]hen a defendant contacts putative class members for the purpose of

altering the status of a pending litigation, such communication is improper without judicial

authorization”); cf. In re School Asbestos Litigation, 842 F.2d 671, 680 (3d Cir. 1988)

(“[M]isleading communications to class members concerning the litigation pose a serious

threat to the fairness of the litigation process, the adequacy of representation and the

administration of justice generally.”); Erhardt v. Prudential Group, Inc., 629 F.2d 843, 846

(2d Cir. 1980); Barton v. The Pantry, Inc., 2006 WL 2568462, at *2 (M.D.N.C. Aug. 31,

2006) (denying defendant’s request for limitation on communications with putative class

members because it had not shown that plaintiffs’ counsel had engaged in any improper or

inaccurate communications); Dondore v. NGK Metals Corp., 152 F.Supp. 2d 662, 666

(E.D. Pa. Apr. 9, 2001); Georgine v. Amchem Prods., 160 F.R.D. 478, 489-502 (E.D. Pa.

Mar. 1, 1995); Haffer v. Temple Univ. of Com. Sys. of Higher Educ., 115 F.R.D. 506, 507-

14 (E.D. Pa. Mar. 3, 1987).

       Although Defendants will undoubtedly characterize their communications with

putative class members as “investigative efforts,” their unilateral meetings with putative

class members, while Plaintiff’s Motion for Certification is pending, and their

dissemination of affidavits, took place under misleading circumstances, and were nothing

more than an attempt to prejudice putative class members’ ability to recover any damages,

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prematurely defeat Plaintiff’s Motion for Certification and forthcoming notice, and/or

dissuade putative class members from joining the action, without the knowledge of the

Court or Plaintiffs’ counsel. One-sided, unsupervised, and unapproved communications

with putative class members have been repeatedly recognized as problematic and requiring

corrective action. See, e.g., Irvine v. Destination Wild Dunes Mgmt., Inc., 132 F.Supp. 3d

705 (D.S.C. 2015).

       In Irvine, the District of South Carolina faced similar facts, wherein the plaintiff

filed a motion for conditional class certification under the FLSA, and while the motion was

pending, the defendants met with putative class members and executed sworn declarations.

Id. at 706. The defendants defended the meetings as proper and entirely voluntary, while

the plaintiff “characterized the one-on-one meetings between putative class members and

defense counsel as ‘ex parte communications’ and [sought] an order prohibiting future

meetings between putative class members and defense counsel without Plaintiff’s counsel

being present.” Id. Even though the court stated that there is no outright prohibition on

meeting with members of a putative class before a motion for certification is ruled upon, it

provided that “a unilateral communications scheme . . . is rife with potential for coercion,”

and stated that courts should “proceed with eyes open to the imbalance of power and

competing interests.” Id. at 706-07 (citing Brown v. Nucor Corp., 785 F.3dd 895, 913-14

(4th Cir. 2015)). The court held that the issue was moot, since certification had been

granted before its ruling on this issue was made, but it directed that the parties not use the

declarations in the litigation prospectively, without the explicit authorization of the court.

Id. at 707.

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       Similarly, in Quezada v. Schneider Logistics Transloading & Distribution, 2013

WL 1296761 (C.D. Cal. Mar. 25, 2013), the defendant-employer conducted interviews of

putative class members before certification was granted. Id. at *5. The putative class

members were told that the attorneys interviewing them represented the defendant, and

were also told that they were free to leave, were free to refuse to sign a declaration, and

were free to make changes to their declaration prior to signing. Id. The court held that,

despite these facts, the defendant’s communications with putative class members were

improper. Id. The court further provided that:

       Even if defendant provided its employees with some information about the
       lawsuit and with notice that the attorneys represented [the defendant], the
       communications were deceptive because the interviewing attorneys failed
       to notify the employees of the nature and purpose of the communications.
       Crucially, the employees were never told that the purpose of the interviews
       was to gather evidence to be used against the employees in a lawsuit. In
       fact, the employees were not even told that the document they were asked to
       sign at the close of the interview was a sworn declaration, nor were they
       apprised of the significance of signing a declaration under penalty of perjury.

Id. (emphasis added). The court went on the state that the interviews were “fundamentally

misleading and deceptive because the employees were unaware that the interview was

taking place in an adversarial context, and that the employees' statements could be used

to limit their right to relief.” Id. (emphasis added). The court held that the declarations

would be disregarded, that the defendant was barred from further communications with

putative class members about the lawsuit without first obtaining the permission of the

court, and that a corrective notice to putative class members was appropriate. Id. at *6-7.

       In direct contrast to this matter, there are appropriate methods for counsel

representing a defendant to communicate with putative class members, before the court

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rules on a motion for certification. See, e.g., Slavinski v. Columbia Ass'n, Inc., 2011 WL

1310256 (D. Md. Mar. 30, 2011). For example, in Slavinski, the plaintiff argued that

defense counsel’s interviews with employees, with the primary purpose of having them

sign affidavits, and without plaintiff’s counsel present, constituted a prohibited “series of

secret meetings.” See id. at *2. The court began by laying out a two-part test to establish

that a limitation on communications between a defendant is warranted, requiring that the

plaintiff show: (1) that a particular form of communication has occurred or is threatened to

occur; and (2) that the particular form of communication at issue is abusive in that it

threatens the proper functioning of the litigation. See id. at *3. The court then rejected the

plaintiff’s argument, pointing to the fact that “no employee who signed a declaration has

stepped forward to object to the interview as misleading,” id. at *4, and noting all of the

appropriate actions that the defendant’s counsel had taken:

       At the beginning of each meeting, [defendants’ counsel] informed each
       employee that she was an attorney with the Association and that the purpose
       of the meeting was to discuss [the plaintiff’s] lawsuit. [Defendants’ counsel]
       provided each employee with a copy of [the plaintiff’s] complaint and
       explained her allegations that the [defendant] had misclassified employees as
       exempt who were entitled to overtime compensation. [Defendants’ counsel]
       also explained to the employees that their participation was completely
       voluntary and that ‘they would not be offered anything of value in exchange
       for their cooperation, that they could consult a lawyer of their choosing
       before deciding whether to speak with [her] or to sign any written statement,
       that they could decline to speak with [her] or to provide and sign a written
       statement,’ and that the law expressly prohibited the [defendant] from
       retaliating against them if they chose to join [the plaintiff’s] lawsuit. At the
       conclusion of each meeting, [defendants’ counsel] asked each employee
       whether he or she would be willing to sign a declaration only after explaining
       that it could negatively impact his or her right to join the lawsuit or to obtain
       monetary recovery from the [defendant].

See id. at *2 (citations omitted). In this matter, by contrast, Defendants’ counsel literally

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did not provided putative class members with any of the aforementioned details, and a

putative class member, who has stated his intent to remain neutral (and has thus not opted

into this action at this point), provided that he felt so misled after meeting with Defendants’

counsel, that he decided to call Plaintiff’s counsel to discuss the meeting. See supra. The

differences between the defendants’ counsel’s conduct in Slavinski, and Defendants’

counsel’s conduct in this matter, is striking.

       Like the courts in Irvine and Quezada, federal courts have consistently found that

similar communications by defendants with putative class members, without leave of court

or presence of plaintiff’s counsel, is improper. See, e.g., Kleiner v. First National Bank of

Atlanta, 751 F.2d 1193, 1203 (11th Cir. 1985) (“Unsupervised, unilateral communications

with the plaintiff class sabotage the goal of informed consent by urging exclusion on the

basis of a one-sided presentation of the facts, without opportunity for rebuttal. The

damages from misstatements could well be irreparable.”); Abdallah v. Coca Cola Co., 186

F.R.D. 672, 678 (N.D. Ga. 1999) (holding that, even where the employer “has not given

the Court any reason to suspect that it will attempt to mislead its employees and coerce

them into non-participation in this case,” the “danger of coercion is real and justifies the

imposition of limitations on [the employer’s] communications with potential class

members.”); Bower v. Bunker Hill Co., 689 F. Supp. 1032, 1033 (E.D. Wash. 1985)

(recognizing the “extreme potential for prejudice to class members' rights” if the defendant

was permitted to discuss the suit with class members); Zamboni v. Pepe W. 48th St. LLC,

2013 WL 978935, at *3 (S.D.N.Y. Mar. 12, 2013) (“[A] communication may be coercive

where the defendant . . . misleads them by failing to reveal how some proposed transaction

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might affect their rights in the litigation”); see generally In re Cmty. Bank of N. Virginia,

418 F.3d 277, 310 (3d Cir. 2005) (“Because the advantage of class action litigation comes

at the cost of binding absent class members through the res judicata effect of litigation over

which they lack control, the district courts must closely monitor the notice process and take

steps to safeguard class members from 'unauthorized [and] misleading communications

from the parties or their counsel.’”) (citations omitted); Mevorah v. Wells Fargo Home

Mortg., Inc., 2005 WL 4813532, at *1 (N.D. Cal. Nov. 17, 2005); Dondore, 152 F. Supp.

2d at 666 (providing that “putative class members are properly characterized as parties to

the action,” and that “[i]f defense counsel or counsel otherwise adverse to their interests is

allowed to interview and take statements from often unsophisticated putative class

members without the approval of counsel who initiated the action, the benefits of class

action litigation could be seriously undermined.”) (quotations omitted); Pollar v. Judson

Steel Corp., 1984 WL 161273, at *1-2 (N.D. Cal. Feb. 3, 1984).

       Similar to the defendants in the aforementioned cases, Defendants’ counsel in this

matter have engaged in one-sided communications with putative class members without

the presence or consent of the Court or Plaintiff’s counsel. Defendants’ counsel failed to

explain a multitude of crucial information to putative class members, as outlined above,

including, but not limited to, who they represented, what the purpose of the

meeting/affidavit would be, or how their rights may be affected. See supra. The affidavits

at issue can also seriously prejudice putative class members’ ability to recover in this

action, and the communications that took place may dissuade putative class members from

exercising their rights under the law. Just as in Quezada, the putative class members were

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not advised that the purpose of the communications was to gather evidence to use against

them in a lawsuit, or that their statements could be used to limit their right to relief, which

significantly compromises the Court’s authority over § 216(b) collective actions and Rule

23 class actions. See Quezada, 2013 WL 1296761, at *5. Defendants’ failure to notify

either Plaintiff’s counsel or the Court of these meetings, or the execution of corresponding

affidavits, is equally problematic, and further demonstrates the inherently suspect nature

of these meetings. In light of Defendants’ actions, and the risks posed to putative class

members through these meetings, judicial intervention to safeguard the rights of the

putative class members is proper.5

    IV.      CONCLUSION
          For the reasons stated above, Plaintiffs respectfully request that this Court enter an

order:

          (1) Granting the instant Motion;

          (2) Prohibiting Defendants from further communications with putative class

members, without permission from the Court;

          (3) Invaliding all affidavits improperly obtained;




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  Undersigned counsel was also co-lead counsel in Tomkins v. Amedisys, Inc., 2014 WL
129401 (D. Conn. Jan. 13, 2014), where the defendant similarly initiated one-sided
communications with putative class members as part of an effort to limit their right to relief.
The Tomkins court granted plaintiffs’ motion for protective order, finding that the
defendant had “usurped the duty and authority of this Court to monitor communications
with putative class members, and ensure that the information provided regarding this
litigation and the putative members' rights in proceeding in the action is timely and
accurate. [The defendant’s] conduct has undermined the integrity of the judicial process
and potentially confused and misled putative class members.”
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          (4) Directing Defendants to provide Plaintiff’s counsel with the names,

telephone numbers, email addresses, and mailing addresses of all putative class

members who Defendants communicated with regarding the affidavits discussed

herein;

          (5) Directing Defendants to provide Plaintiff’s counsel with all materials

sent to or received from putative class members;

          (6) Directing that counsel for the parties submit to the Court an agreed-upon

form of corrective notice;

          (7) Directing that the notice briefly describe the lawsuit, and advise putative

class members that their signed affidavits will have no legal effect, and will not

impact their right to participate in this action; and

          (8) Providing any other relief this Court deems necessary or appropriate.



          Respectfully submitted this March 23, 2018.


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                            CERTIFICATE OF SERVICE

      I hereby certify that on March 23, 2018, the foregoing MEMORANDUM IN

SUPPORT OF PLAINTIFF’S EMERGENCY MOTION FOR A PROTECTIVE

ORDER AND CORRECTIVE MAILING TO ADDRESS DEFENDANTS’

IMPROPER COMMUNICATION WITH PUTATIVE CLASS MEMBERS was

served in accordance with the Federal Rules of Civil Procedure on the following:

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